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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION



    CHARI HOOVER and
    GEORGE ROBERT HOOVER,

                  Plaintiffs,

    v.                                                         Case No. 3:20-cv-388-J-34JBT

    ETHICON, INC. and
    JOHNSON & JOHNSON,

                  Defendants.



                                              ORDER


           THIS CAUSE is before the Court on the Joint Status Report (Doc. 53), filed on May

    20, 2020. On June 8, 2020, the Court held a status conference, at which counsel for all

    parties appeared via Zoom, to address the unresolved issues in the Joint Status Report.

    See Minute Entry (Doc. 55; Status Conference). Upon due consideration of the parties’

    arguments, and in light of both parties’ depiction of Wave 8 as a “tsunami” of cases and

    the resultant limitations on the parties’ ability to conduct discovery and address case

    specific issues in the multi-district litigation (MDL), the Court finds it appropriate to permit

    the following additional discovery and motion practice:

           A. Discovery:

              1. The parties may engage in the following additional discovery as agreed upon

                  in the Joint Status Report and at the Status Conference: updated medical

                  authorizations, supplementation of the Plaintiff Fact Sheet, if necessary,
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                   supplementation of the Defendant Fact Sheet if additional pelvic surgeons

                   treated Mrs. Hoover; supplemental deposition of Mrs. Hoover, limited to

                   matters related to any new medical records and treaters not addressed in

                   her last deposition, and the depositions of the family and friends identified in

                   the Joint Status Report.

               2. Defendants’ request to take depositions of Mrs. Hoover’s treating physicians

                   (Paschall, Stankard, Webb, and her current primary care doctor) is

                   GRANTED.         These depositions are subject to the same restrictions and

                   procedures imposed in the MDL.

               3. Plaintiffs’ request to have their case-specific expert, James A. Daucher,

                   M.D., examine Mrs. Hoover and supplement his report, if necessary, is

                   GRANTED.         As such, Defendants’ case specific expert, Joseph Costa,

                   D.O., may also conduct an examination of Mrs. Hoover and supplement his

                   report, if necessary. If either doctor supplements his report, the parties may

                   take the deposition of that doctor on his supplemental opinions.

           B. Supplemental Motion Practice:

               1. In the interests of efficiency and judicial economy, Defendants’ request to file

                   a supplemental motion for summary judgment, limited to the statute of

                   limitations issue, is GRANTED.

               2. Defendants’ request for leave to file a motion to limit or exclude Plaintiffs’

                   case-specific expert Dr. Daucher is GRANTED.1




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      This obviates the need to file a motion requesting leave to file this additional Daubert motion, as was
    previously discussed at the Status Conference.




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              3. The Court intends to adopt all the MDL court’s Daubert rulings from the prior

                 waves as relevant to this case. As discussed at the hearing, the parties are

                 directed to file a joint notice setting forth those rulings and re-brief any

                 unresolved issues.       The parties SHALL NOT raise any arguments not

                 previously raised in the MDL. The re-filed Daubert motions must not merely

                 incorporate or reference arguments from prior filings, and the relevant

                 exhibits shall be attached to the motion. The parties are cautioned that the

                 Court generally disfavors the filing of mere deposition excerpts and as such,

                 the parties should file those portions of the depositions that are relevant to

                 this case in their entirety. A separate motion shall be filed for each expert

                 and must comply with the Local Rules of this Court. All parties must send

                 paper courtesy copies to chambers of any filings that exceed 25 pages,

                 inclusive of exhibits.

    On or before June 19, 2020, the parties shall prepare and file a proposed schedule for the

    remaining proceedings in this matter, as directed at the status conference, which takes

    into consideration the above rulings.

          DONE AND ORDERED in Jacksonville, Florida this 10th day of June, 2020.




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    Copies to:

    Counsel of Record




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